                Case 1:19-cr-00223-LO Document 1 Filed 06/10/19 Page 1 of 1 PageID# 1

AO 91 (Rev. 11/11) Criminal Complaint


                                    United States District Court
                                                               for the

                                                   Eastern District of Virginia

                  United States of America
                               V.


        OSVALDO BELLO VILLANUEVA, AND
                                                                         Case No. 1:19-                     wym/c?

                      ABRAHAM NOA



                          Defendant(s)


                                                CRIMINAL COMPLAINT

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                 October 19,2017               in the county of               Fairfax          in the

      Eastern         District of            Virginia        ,the defendant(s) violated:

            Code Section                                                    Offense Description
18 U.S.C.§ 1029                                Defendants knowingly and voluntarily joined together with each other to use
                                               one or more counterfeit access devices, and did so by installing electronic
                                               devices at points-of-sale.




         This criminal complaint is based on these facts:
See attached affidavit.




         □ Continued on the attached sheet.


                                                                          A/-               Complainant's signature
 SAUSA Steven T. Brantley/AUSA Nathaniel Smith, III
                                                                                  Gregory R. Settducati, Special Agent, FBI
                                                                                             Printed name and title

                                                                                                         /S/
Sworn to before me and signed in my presence.                                A^heresa Cairolj^uGhanan
                                                                            //-y^iTitefil'States'^gistrate Judge
Date:           June 10,2019
                                                                                               Judge's signature

City and state:                         Alexandria, VA                      Hon. Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                             Printed name and title
